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                            UNITED STATES DISTRICT COURT                                          22c18
                             WESTERN DISTRICT OF TEXAS                                       USIST
                                   WACO DIVISION

 OCWEN LOAN SERVICING, LLC,                     §
 Plaint ff                                      §
                                                §
 VS                                             §       Case No. 6:18-CV-44
                                                §
 SHAWN M. ALOSI and LINDSAY M.                  §
 ALOSI,                                         §
Defendants


                         REPORT AND RECOMMENDATION OF
                       THE UNITED STATES MAGISTRATE JUDGE

TO:     THE HONORABLE ROBERT PITMAN,
        UNITED STATES DISTRICT JUDGE

         This Report and Recommendation is submitted to the Court pursuant to 28              U.s.c.


§   636(b)(1)(c) and Rules 1(h) and 4(b) of Appendix C of the Local Rules of the United States

District Court for the Western District of Texas, Local Rules for the Assignment of Duties to

United States Magistrate Judges. For the reasons stated below, the undersigned RECOMMENDS

that the Motion for Default Judgment be GRANTED. ECF No. 13.


                                      I. BACKGROUND

         On or about July 26, 2001, Defendant Shawn M. Alosi executed a promissory note (the

"Note") payable to Guaranty Residential Lending, Inc.   P1. 's   Compi. ¶ 5, ECF No.   1.   Shawn M.

Alosi and Lindsay M. Alosi executed the Deed of Trust (the "Security Instrument" and in

combination with the Note, the "Loan Agreement"), granting a security interest in real property

located in Bell County, Texas. Id. ¶ 6. The property located at 1141 Ashley Drive, Nolanville, TX

76559-4504 and "described as:

         LOT TWELVE (12), IN BLOCK THREE (3), OF NOLANVILLE ESTATES,
         FIRST REPLAT iN CITY OF NOLANVILLE, BELL COUNTY, TEXAS,



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           ACCORDING TO THE PLAT OF RECORD IN CABINET A, SLIDE 373-C,
           PLAT RECORDS OF BELL COUNTY, TEXAS.

(the "Property")." Id.

           Ocwen Loan Servicing, LLC ("Ocwen") is the legal owner and holder of the Note and the

mortgagee as defined in       §   51.0001(4) of the Texas Property Code. Id. ¶ 7. Shawn M. Alosi has

failed to make payments on the Note and has failed to comply with any and all of the covenants

and conditions of the Security Instrument. Id. ¶ 10. Notice of default was sent to Shawn M. Alosi

in accordance with     §   51.002(d) of the Texas Property Code. Id.

           On February 2, 2018, Ocwen filed a complaint seeking authorization to either invoke the

power of sale in the Security Instrument and foreclose on the Property pursuant to Texas Property

Code   §   51.002, or alternatively, judicial foreclosure, and an award of attorney's fees, costs, and

other financial relief to which Ocwen is justly and legally entitled. Id. ¶ 19.

           On February 26, 2018, Lindsay M. Alosi was served with the complaint via personal

service. Orig. Mot. for Default J. at 1, ECF No. 8. On March 1, 2018, Shawn M. Alosi was served

with the complaint via personal service. Id. Defendants have not answered, appeared, or otherwise

defended themselves in this action. Id.

           On April 2, 2018, Ocwen requested entry of default against the defendants. Id. On April 2,

2018, the District Clerk's Office filed an entry of default. Clerk's Entry of Default, ECF No. 9. On

April 2, 2018, Ocwen filed the Original Motion for Default Judgment. ECF No. 8. The request for

entry of default and the Motion for Default Judgment, along with the proposed orders, were mailed

to each of the defendants at the same location where they were personally served. Ocwen requests

a default judgment allowing foreclosure of the property and seeks reasonable and necessary

attorney's fees. Am. Mot. For Default J. at 3-4, ECF No. 13.




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                                        II. LEGAL STANDARD

       "When a party against whom a judgment for affirmative relief is sought has failed to plead

or otherwise defend, and that failure is shown by affidavit or otherwise, the clerk must enter the

party's default." Fed. R. Civ. P. 55(a). After a defendant has defaulted, judgment shall be entered

upon affidavit of the amount due if the plaintiffs claim is for a sum certain or a sum that can be

made certain by computation. Fed. R. Civ. P. 55(b). The plaintiff must file an affidavit stating

whether the defendant is in military service before the Court can issue a default judgment. 50

U.S.C.A.   §   3931 (West) (formerly 50 App. U.S.C.       §   521(b)(l)).

       Default judgments "are a drastic remedy, not favored by the Federal Rules and resorted to

by courts only in extreme situations." Lewis v. Lynn, 236 F.3d 766, 767 (5th Cir. 2001) (citing Sun

Bank of Ocala     v.   Pelican Homestead and Savings Ass 'n., 874 F.2d 274, 276 (5th Cir. 1989)). The

plaintiff "is not entitled to a default judgment as a matter of right, even where the defendant is

technically in default." Settlement Funding, LLC         v.   TransAmerica Occidental Life Ins. Co., 555

F.3d 422, 424 (5th Cir. 2009).

       "In order to obtain a default judgment, Ocwen must establish that (1) default was entered

against the Defendants; (2) the Defendants are neither minors nor incompetent persons; (3)

Defendants are not in military service; and (4) the Defendants were provided with notice of the

motion for default judgment." Ocwen Loan Servicing, LLC v. Deane, No. 4:1 5-CV-00682-O-BP,

2017 WL 6816499, at *2 (N.D. Tex. Dec. 1, 2017). After a default judgment, the plaintiffs well-

pleaded factual allegations are taken as true. US. for Use of MCo Constr., Inc.          v.   Shipco Gen.,

Inc., 814 F.2d 1011, 1014 (5th Cir. 1987).

        A party is entitled to enforce the power of sale clause in the Security Instrument if the party

can show that: "(1) a debt exists, (2) the debt is secured by a lien on homestead property as allowed




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by the Texas Constitution, (3) the [debtor is] in default under the note and the security instrument,

and (4) [the debtor] received notice of default and acceleration. Babineaux v. Citimortgage, Inc.,

No. 02-17-00124-CV, 2017 WL 6616239 (Tex.             App.Fort Worth,     Dec. 21, 2017, pet. filed);

Wells Fargo Bankv. Jackson, 5:15-CV-00992-XR, 2016 WL 4991716, at *3 (W.D. Tex. Sept. 16,

2016) (citing Marshall v. Deutsche Bank Nat '1 Trust Co., No. SA- 13 -CV-937-OLG, slip op. at 14-

15 (W.D. Tex. Sept. 21,   2014)). As a prevailing party, Ocwen can recover costs and attorney's

fees from the Defendant. 28 U.S.C.   §   2412(a)(1), (2)(b); United States   v.   Cisneros, CV B-16-23,

2017 WL 1155909, at *1 (S.D. Tex. Jan. 30, 2017), report and recommendation adopted, CV B-

16-023, 2017 WL 1134132 (S.D. Tex. Mar. 27, 2017) (citing US. v. Chapa, No. C-07-005, 2007

WL 4198387 (S.D. Tex. Nov. 23, 2007)).


                                         III. DISCUSSION

       Default judgment is procedurally warranted in this case. The defendants have "failed to

plead or otherwise respond" in this matter, despite receiving personal service of the complaint and

summons. Ocwen, 2017 WL 6816499, at *2. The District Clerk's Office filed an entry of default

on April 2, 2018. The Court has waited more than sixty days since the Motion for Default Judgment

was filed, but the defendants still have taken no action to defend this case. Finally, Ocwen has

submitted affidavits that the defendants are not in military service. Mot. for Default Judg. at 5-7.

        The Court finds the decision in Wells Fargo Bank       v.   Jackson cited above particularly

instructive. In Wells Fargo, Judge Xavier Rodriguez of the Western District of Texas held Wells

Fargo properly pled a substantive cause of action within its complaint, which authorized a default

judgment allowing for foreclosure. Wells Fargo, 2016 WL 4991716, at *3 The complaint properly

alleged Defendants owed a debt and provided evidence of the debt's existence, which is allowed

under the Texas Constitution. Id. Wells Fargo alleged Defendants had not made payments since


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2005 and were in default. Id. Lastly, Wells Fargo provided notice of default and notice of its intent

to accelerate to Defendants. Id. Because Wells Fargo properly pled a substantive cause of action

to obtain a judicial foreclosure, the Court granted the motion for entry of default judgment. Id.

       Ocwen has sufficiently set forth facts entitling it to an entry of default and enforcement of

the purchase money loan. Ocwen has established that defendants have failed to make payments on

the Note, that Ocwen owns the promissory note issued to the defendants and secured by the

execution of the Deed of Trust, that the note is in default, the debt is allowed by the Texas

Constitution, and Ocwen provided notice of default and notice of intent to accelerate to the

Defendant's last known addresses. Pl.'s Compi. at 3-4; see US.     v.   Lawrence,   276 F.3d 193, 196

(5th Cir. 2001) (holding that because no party disputes the competency of the evidence, it may be

relied upon for entry of default judgment). Based upon these facts, Ocwen has pled all of the

elements necessary to succeed in enforcing the power of sale clause in the Security Instrument

against the borrowers.

       Ocwen is entitled to a default judgment for what is demanded in the pleadings. Fed. R. Civ.

P. 54(c) ("A default judgment must not differ in kind from, or exceed in amount, what is demanded

in the pleadings."). In addition to the forced foreclosure of the property, Ocwen also seeks

attorney's fees and costs in this action. However, Ocwen has not provided the Court with the

calculations for the amount of costs or the amount of reasonable and necessary attorney's fees

incurred. Pl.'s Compl. at 2. Accordingly, Ocwen is instructed to provide such information within

seven days from the entry of the Report and Recommendation.




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                       IV. CONCLUSION AND RECOMMENDATIONS

       After thoroughly reviewing the record, the undersigned RECOMMENDS that the Court

issue a default judgment against Shawn M. Alosi and Lindsay M. Alosi for: (1) foreclosure         of the

property in accordance with the Security Instrument (representing the amount defendants are in

default on the promissory note); (2) interest that continues to accrue on the principal, until the date

of judgment; (3) post-judgment interest entered pursuant to 28 U.S.C.     §   1961; and, (4) all costs of

court and reasonable and necessary attorney's fees to be determined by the Court.

       The parties may wish to file objections to this Report and Recommendation. A party filing

objections must specifically identify those findings or recommendations to which objections are

being made. The District Court need not consider frivolous, conclusive, or general objections. See

Battle v. United States Parole Comm 'n, 834 F.2d 419, 421 (5th Cir. 1987).

       A party's failure to file written objections to the proposed findings and recommendations

contained in this Report within fourteen (14) days after the party is served with a copy of the

Report shall bar that party from de novo review by the District Court of the proposed findings and

recommendations in the Report and, except upon grounds of plain error, shall bar the party from

appellate review of unobjected-to proposed factual findings and legal conclusions accepted by the

District Court. See 28 U.S.C.    §   636(b)(1)(C); Thomas v Am, 474 U.S. 140, 150-53 (1985);

Douglass v. United Services Automobile Association, 79 F.3d 1415 (5th Cir. 1996) (en banc).


       SIGNED July 11, 2018.


                                         (T/.
                                          JE1             C. MANSKE
                                              UNITED'TATES MAGISTRATE JUDGE
